KIM R. WALMSLEY
Chief U.S. Probation Officer
LEE J. SAN NICOLAS
U.S. Probation Officer
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                            THE DISTRICT COURT OF GUAM


UNITED STATES OF AMERICA,                 )     CRIMINAL CASE NO.: 13-00063-001
                                          )
                     Plaintiff,           )
                                          )         SECOND SUPPLEMENTAL
                                          )             DECLARATION IN
              vs.                         )           SUPPORT OF PETITION
                                          )
KENNETH FREDRICK CALVO,                   )
                                          )
                     Defendant.           )
                                          )



Re:    Additional Violations of Supervised Release Conditions; Second Supplemental
       Declaration in Support of Petition



       I, U.S. Probation Officer Lee J. San Nicolas, am the U.S. Probation Officer

assigned to supervise the Court ordered conditions of supervised release for Kenneth

Fredrick Calvo, and in this capacity, I declare as follows:



       On April 17, 2023, a Petition for Revocation of Supervised Release was filed after

Mr. Calvo failed to attend drug treatment sessions on March 20 and April 5, 2023, verbally

admitted to daily use of “Meth” for two weeks with last use on April 7, 2023 and failed to

notify probation officer of change in employment.


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      On April 18, 2023, Mr. Calvo appeared before the Honorable Michael J. Bordallo,

Magistrate Judge, for an Initial Appearance hearing. At the request of defense counsel,

an Answering hearing was scheduled for April 25, 2023.



      On April 21, 2023, a Supplemental Declaration in Support of Petition was filed after

Mr. Calvo failed to attend a drug treatment session on April 19, 2023.



      On April 25, 2023, Mr. Calvo failed to appear at the Answering hearing. The Court

was informed that Mr. Calvo submitted dilute urine samples for drug testing on April 11,

2023 and April 18, 2023.



      Mr. Calvo is scheduled for a Continued Answering hearing on May 2, 2023.



      Mr. Calvo is alleged to have committed the additional violations of 18 U.S.C.

§3583(d):



Special Condition: You must submit to substance abuse testing to determine if you have

used a prohibited substance, not to exceed eight drug tests per month. You must not

attempt to obstruct or tamper with the testing methods.



      On April 11, 2023, Mr. Calvo was subjected to drug testing at the Lighthouse

Recovery    Center   (LRC),   which    was   presumptive    positive     for   the   use   of

methamphetamine. Due to denial of illicit drug use, the urine specimen was sent to the

national laboratory for confirmatory testing. The results were received on April 19, 2023,


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revealed that his urine sample was dilute, with abnormal creatinine levels, which is

indicative of the consumption of large amounts of fluids to evade a positive drug test

result.



          On April 18, 2023, Mr. Calvo was subjected to drug testing at the U.S. Probation

Office, which was presumptive positive for the use of methamphetamine. Due to denial

of illicit drug use, the urine specimen was sent to the national laboratory for confirmatory

testing. The results were received on April 25, 2023, revealed that his urine sample was

dilute, with abnormal creatinine levels.



Special Condition: You must participate in a substance abuse treatment program and

follow the rules and regulations of that program. The probation officer will supervise your

participation in the program (provider, location, modality, duration, intensity, etc.). You

must make co-payment for the program at a rate to be determined by the U.S. Probation

Office. During the course of substance abuse treatment, you must refrain from any

intoxicating substances, to include but not limited to, illicit substances, marijuana,

prescription medication not prescribed to you, alcoholic beverages., etc.



          On May 1, 2023, Christopher Francisco, drug treatment counselor from the

Lighthouse Recovery Center, informed this Officer that Mr. Calvo failed to attend his drug

treatment session at the Lighthouse Recovery Center on April 26, 2023.



Recommendation: The above information is respectfully submitted to supplement the

Supplemental Declaration in Support of Petition filed on April 21, 2023, and for


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consideration at a hearing scheduled for May 2, 2023. Mr. Calvo’s term of supervised

release is subject to mandatory revocation, pursuant to 18 U.S.C. §3583(g)(4), for testing

positive for illegal controlled substances more than three times over the course of one

year.



        I declare, under penalty of perjury, that the foregoing is true and correct, except

those matters stated upon information and belief, and as to those matters, I believe them

to be true.



        Executed this 1st day of May 2023, at Hagatna, Guam, in conformance with the

provisions of 28 U.S.C. § 1746.

                                                 Respectfully submitted,

                                                 KIM R. WALMSLEY
                                                 Chief U.S. Probation Officer


                                          By:          /s/ LEE J. SAN NICOLAS
                                                       U.S. Probation Officer

Reviewed by:


          /s/ JOHN W. SAN NICOLAS II
          Supervisory U.S. Probation Officer




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